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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

ROBERT O. IDAHOSA,                         *

      Plaintiff,                           *

vs.                                        *
                                                      CASE NOS. 4:20-CV-91 (CDL)
RYAN D. MCCARTHY, Secretary of             *                    4:20-CV-92 (CDL)
the Army, and UNITED STATES
DEPARTMENT OF THE ARMY,                    *

      Defendants.                          *


                                      O R D E R

      On March 10, 2021, the Court entered orders concluding that

Plaintiff’s     complaints      in   the   above-captioned     actions   failed   to

state a claim.          The Court, however, found that Plaintiff should

have an opportunity to cure the deficiencies in his complaints, and

the Court ordered Plaintiff to file an amended complaint in the

above-captioned actions by March 31, 2021.               Plaintiff did not file

amended complaints by the deadline.                 On April 5, 2021, the Court

entered orders dismissing the two actions for failure to state a

claim,    and   the     clerk   of   the    Court    entered   judgments   against

Plaintiff.      Plaintiff now seeks to set aside the judgments.                   He

also filed amended complaints in each action.

      Although the clerk of the Court certified that copies of the

Court’s orders were mailed to Plaintiff on March 10, 2021 at the

address    that    he    provided     to    the     Court,   Plaintiff   submitted

affidavits stating that he never received the orders.                Idahosa Aff.
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¶¶ 1, 6, ECF No. 20-1 in 4:20-cv-91 and -92.                         He did, however,

receive a copy of the Court’s April 5, 2021 order and judgment at

his address of record on April 29, 2021.                       Id. ¶ 2.          Plaintiff

immediately    contacted     the    clerk       of   the   Court    to    find   out    what

happened, and he learned of the Court’s March 10, 2021 order for

the first time.       Id. ¶ 5.       Shortly after that, Plaintiff filed a

motion to set aside the judgments (ECF No. 20 in 4:20-cv-91 and -

92).    Plaintiff explained that he had received some but not all of

the mail from the Court at his address of record, and he noted that

there was a delay receiving the mail that actually did arrive.

Plaintiff asked the clerk to begin using his post office box and

email address for service instead of the street address he had

previously provided.

       Plaintiff seeks to set aside the judgment under Federal Rule

of Civil Procedure 60(b)(1), which provides that “the court may

relieve a party . . . from a final judgment, order, or proceeding

for the following reason[]: . . . mistake, inadvertence, surprise,

or    excusable   neglect.”         Plaintiff        presented      evidence     that    the

reason for his delay in filing the amended complaints and seeking

to set aside the judgments was that his mail did not arrive to his

street address in a timely manner.                    He did not know about the

Court’s order and thus could not comply with it by the deadline.

The    delay   was   short    and    has        little     impact    on    the   judicial

proceedings, there is no indication that Plaintiff acted in bad

faith, and the Government will not be prejudiced if Plaintiff’s


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amended complaints are considered timely.                     Accordingly, the Court

finds that Plaintiff has demonstrated excusable neglect for his

failure       to    comply      with    the      deadline   for     filing    his     amended

complaints.          The Court therefore sets aside the judgments entered

on April 5, 2021.             The Court will consider the amended complaints

filed    on    May      18,   2021     to   be   timely.     They    are     the    operative

complaints         in   these    actions.         The   Government     shall       answer    or

otherwise respond to the amended complaints by June 30, 2021.

        Plaintiff asked the clerk to begin using his email address for

service of documents in these two actions.                     If Plaintiff wishes to

receive electronic notice of filings, Plaintiff should review the

"Pro Se Participants" section of the Court's CM/ECF Administrative

Procedures,        available      at    https://www.gamd.uscourts.gov/cmecf,                and

determine whether he wishes to participate in e-filing.                            The Court

notes that if a pro se party wishes to receive electronic notice,

then the pro se party must also electronically file documents.                              If

Plaintiff does not register for electronic filing, then he will be

served with documents at his post office box as he requested.

        IT IS SO ORDERED, this 25th day of May, 2021.

                                                     s/Clay D. Land
                                                     CLAY D. LAND
                                                     U.S. DISTRICT COURT JUDGE
                                                     MIDDLE DISTRICT OF GEORGIA




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